           Case 1:19-cv-00109-SM Document 23 Filed 06/13/19 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                                                                                          /   fi
                              DISTRICT OF NEW HAMPSHIRE


                                                                           2219 JUH t 3 A I0-- 25
       JOHNDOEi,

                      Plaintiff,
             V.                                                       Civil Action No.
                                                                      l:19-cv-00109-SM
TRUSTEES OF DARTMOUTH COLLEGE,


                     Defendant,




SURREPLY TO RESPONSE TO PLAINTIFF'S MOTION FOR EXTENSION OF TIME


In recent motion,counsel for Dartmouth has stated;

"it is xinfair to require it to defend against endless identical motions to proceed imder a
pseudonym. IfPlaintiff wants to pursue his claims he must do so under his name. Otherwise, he
must dismiss this case with prejudice."

To clarify, plaintiff has not suggested it would be suitable or appropriate for this case to be
dismissed without prejudice again, or that he ought to be given another opportunity to have this
motion to proceed under a pseudonym evaluated once more by the court. Plaintiff's impression
ofthe orders issued by the court is that Judge DiClerico's order from the previous case has been
upheld, and this case will now proceed as the last one did after the plaintiff's motion to proceed
under a pseudonym was denied, and plaintiff must now choose whether he would like to dismiss
this case with prejudice (forgoing the possibility offiling it again)or proceed by filing an
amended complaint which reveals his true identity and moving forward with litigation.

Counsel for Dartmouth seems to be suggesting plaintiff should be forced to move forward with
litigation, and not given the opportunity to withdraw this lawsuit(although it is not entirely clear
to the plaintiff). Plaintiff cannot imagine why counsel for the defense might want to compel
plaintiffto move forward with civil action against their client which he might otherwise
withdraw, or how this might be in the interests of any party to this suit. If Dartmouth's counsel is
           Case 1:19-cv-00109-SM Document 23 Filed 06/13/19 Page 2 of 3



correct that the plaintiff has not been opportunity to decide if he will withdraw or move forward
with this case before his identity is revealed, plaintiff asks that this be treated as a "motion for
reconsideration," and asks that the judge alter his ruling so that he may be afforded this
opportunity. Based onjudge DiClerico's order from the plaintiff's previous(identical)case
against Dartmouth, as well as plaintiffs review of cases where plaintiffs have submitted motions
to proceed under pseudonyms,this would seem most consistent with previous ruling made in the
federal district courts.


Regardless of which decision plaintiff makes at this point, he will suffer incredibly as a result,
and the ramifications of his decision will substantially detriment most facets of his life for its
remainder. For these reasons, plaintiff has requested time so that he will be able to consult with
publicly available legal, educational, and professional consultants which have limited availability
and plaintiff will not be able to make use ofin the time provided.

To the comment"While Dartmouth does not believe this suit has any merit;" counsel for
Dartmouth College made an identical statement about plaintiffs claims through its initial filings
in case case(l:18-cv-00040)(also stating it was impossible the parties would reach an out-of-
court settlement) only for Dartmouth to then agree to an out ofcourt settlement months later.
Nearly every Dartmouth employee accused of violating the law in that case faced the same, or
similar allegations as they do in this case.




Date:      6/9/2019                                                           Respectfully submitted,

                                                                                             John Doe


 Signature:
          Case 1:19-cv-00109-SM Document 23 Filed 06/13/19 Page 3 of 3




                               CERTIFICATE OF SERVICE



I hereby certify that a copy ofthe following document was mailed conventionally to Christopher

P. McGown of Dartmouth's Counsel on 6/9/2019.


Date:     6/9/2019                                                     John Doe



                                             Signature:
